           Case 2:23-ap-01151-SK Doc 55 Filed 11/11/23                                            Entered 11/12/23 07:57:02                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Vendriger,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01151-SK
Klein,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 09, 2023                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 11, 2023:
Recip ID                 Recipient Name and Address
pla                      Adi Vendriger, 8 Beit Zuri Eliahu St., Tel Aviv, 6912208, ISRAEL
dft                    + Leslie Klein, 322 N. June Street, Los Angeles, CA 90004-1042

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
pla                            Adi Vendriger
intp                           Courtesy NEF
pla              *             Adi Vendriger, 8 Beit Zuri Eliahu Street, Tel Aviv, 6912208, ISRAEL

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 11, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 9, 2023 at the address(es) listed
below:
Name                               Email Address
Brett J. Wasserman
                                   on behalf of Plaintiff Adi Vendriger wasserman@smcounsel.com

Clarisse Young
                                   on behalf of Plaintiff Adi Vendriger youngshumaker@smcounsel.com levern@smcounsel.com

Michael I. Gottfried
                                   on behalf of Interested Party Courtesy NEF mgottfried@elkinskalt.com
          Case 2:23-ap-01151-SK Doc 55 Filed 11/11/23                                Entered 11/12/23 07:57:02    Desc
                              Imaged Certificate of Notice                           Page 2 of 4
District/off: 0973-2                                         User: admin                                          Page 2 of 2
Date Rcvd: Nov 09, 2023                                      Form ID: pdf031                                     Total Noticed: 2
                             cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com

Nikko Salvatore Stevens
                             on behalf of Interested Party Courtesy NEF nikko@cym.law mandi@cym.law

United States Trustee (LA)
                             ustpregion16.la.ecf@usdoj.gov


TOTAL: 5
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Case 2:23-ap-01151-SK Doc 55 Filed 11/11/23        Entered 11/12/23 07:57:02   Desc
                    Imaged Certificate of Notice   Page 4 of 4
